Case 1:23-cv-02536-KMW-EAP Document 64 Filed 08/29/23 Page 1 of 1 PagelD: 704

20230511 162620
AQ 440 (Rev. 06/12) Summons in a Civil Action RETURN OF SERVICE
SERVICE OF: SUMMONS AND COMPLAINT, CIVIL COVER SHEET
EFFECTED (1} BY ME: Sandie Quinagcs
TITLE: PROCESS SERVER

DATE: 5/26/2023 2:40:00 PM

CHECK ONE BOX BELOW TO INDICATE APPROPRIATE METHOD OF SERVICE:
‘i served personally upon the defendant
HARD ROCK SUPPORT SERVICES, LLC

Place where served:

1200 S PINE ISLAND ROAD SUITE 259PLANTATION FL 33324

[| X} Left copies thereof at the defendant's dwelling house or place of business with a person of suitable age and discretion then residing
therein. Name of person with whom the summons and complaint were left:

DONNA MOCH
Relationship ta defendant REGISTERED AGENT

Description of Person Accepting Service:

SEX:F_ AGE:61-65 HEIGHT: 5'0"-5'3" WEIGHT: 131-160 LBS. SKIN: WHITE HAIR:BROWN = OTHER:

[X] To the best of my knowledge, said person was not engaged in the U.S. Military at the time of service

STATEMENT OF SERVER

TRAVEL$ . SERVICES $ . TOTAL $ .

DECLARATION OF SERVER

| declare under penalty of perjury under the laws of the United States of America that the foregoing information contained in
this Return of Service ane Statement of Server is true and correct.
Dacusign Gaurt Approved E-Signature

pate: 4S i923 Sandra” BWomones is.

SIGNATURE OF ae
GUARANTEED SUBPOENA SERVICE, INC.
2009 MORRIS AVENUE
UNION, NJ 07083

ATTORNEY: MINDEE J, REUBEN, ESO.

PLAINTIFF: HEATHER ALTMAN, ET AL
DEFENDANT: CAESARS ENTERTAINMENT INC, ET AL
VENUE: DISTRICT

DOCKET: 123 CV 02536 KMW EAP
COMMENT:

